     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 1 of 35



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 6                       IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Mi Familia Vota, et al.,                         No. CV-22-00509-PHX-SRB
10                 Plaintiffs,                        ORDER
11   v.
12   Adrian Fontes, in his official capacity as
     Arizona Secretary of State, et al.,
13
                   Defendants.
14
15
     AND CONSOLIDATED CASES
16
17          The Court now considers Defendants Mark Brnovich and the State of Arizona’s
18   (collectively, “Defendants”) Consolidated Motion to Dismiss (“Motion”) Plaintiffs’
19   Complaints. (Doc. 127, “Mot.”) For the following reasons, Defendants’ Motion is denied
20   except as to Plaintiffs’ freestanding procedural due process claims.
21   I.     BACKGROUND
22          This case arises out of two Arizona laws regulating voting registration, H.B. 2243
23   and H.B. 2492 (“the Voting Laws”). The Voting Laws, effective January 1, 2023, enable
24   government officials to require heightened proof of citizenship from Arizona registrants
25   and mandate certain consequences if a registrant does not provide such proof. (See
26   generally Doc. 169, Poder Latinx Compl.) Plaintiffs, the United States of America
27   (“United States”) and a collection of nonpublic entities (“Private Plaintiffs”), allege that
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     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 2 of 35



 1   the Voting Laws are both statutorily and constitutionally unsound.1 (See, e.g., id. at
 2   ¶¶ 86–152.)
 3         A.      Recent History of Arizona Voting Laws
 4         Arizona has required documentary proof of citizenship (“DPOC”) from in-state
 5   voters since 2004. (Doc. 1, 22-cv-1124, USA Compl. ¶ 41.) An individual seeking to
 6   register to vote in Arizona state elections must provide one of the following forms of
 7   “evidence of citizenship”:
 8         1. The number of the applicant’s driver license or nonoperating
           identification license issued after October 1, 1996 by the department of
 9         transportation or the equivalent governmental agency of another state
           within the United States if the agency indicates on the applicant’s driver
10         license or nonoperating identification license that the person has provided
           satisfactory proof of United States citizenship.
11
           2. A legible photocopy of the applicant’s birth certificate that verifies
12         citizenship to the satisfaction of the county recorder.
13         3. A legible photocopy of pertinent pages of the applicant’s United States
           passport identifying the applicant and the applicant’s passport number or
14         presentation to the county recorder of the applicant’s United States
           passport.
15
           4. A presentation to the county recorder of the applicant’s United States
16         naturalization documents or the number of the certificate of naturalization.
           If only the number of the certificate of naturalization is provided, the
17         applicant shall not be included in the registration rolls until the number of
           the certificate of naturalization is verified with the United States
18         immigration and naturalization service by the county recorder.
19         5. Other documents or methods of proof that are established pursuant to the
           Immigration Reform and Control Act of 1986.
20
     1
       Plaintiff Mi Familia Vota describes itself as “a national, non-profit civic engagement
21   organization with a mission of uniting Latino, immigrant, and allied communities to
     promote social and economic justice through increased civic participation by encouraging
22   leadership development, citizenship, and issue organizing.” (Doc. 65, Mi Familia Vota
     Compl. ¶ 16.) It “encourages non-partisan voter registration and voter participation and
23   has challenged voter suppression around the nation.” (Id.) Similarly, Plaintiff Voto Latino
     “is a 501(c)(4) nonprofit, social welfare organization that engages, educates, and
24   empowers Latinx communities across the United States, working to ensure that Latinx
     voters are enfranchised and included in the democratic process. In furtherance of its
25   mission, Voto Latino expends significant resources to register and mobilize thousands of
     Latinx voters each election cycle.” (Id. ¶ 19.) “Voto Latino considers eligible Latinx
26   voters in Arizona to be the core of its constituency.” (Id.) Apart from the United States,
     the remaining Plaintiffs allege similar interests in maximizing voter turnout among
27   certain communities, including Native Americans, Asian Americans, and Democratic
     voters in general. (See, e.g., Doc. 1, 22-cv-1381, AZ AANHPI For Equity Coalition
28   Compl. (“AAANHPI Compl.”) ¶¶ 30–31; Doc. 67, Living United for Change in Arizona
     Am. Compl. (“LUCHA Compl.”) ¶¶ 254–60.)

                                                -2-
     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 3 of 35



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            6. The applicant’s Bureau of Indian affairs card number, tribal treaty card
 2          number or tribal enrollment number.
 3   Ariz. Rev. Stat. § 16-166(F).
 4          In addition to providing applicants a State Form to register for state and federal
 5   elections, Arizona also provides a form created by the United States Election Assistance
 6   Commission, known as the Federal Form, to register for federal elections only. See
 7   Gonzales v. Arizona, 677 F.3d 383, 394 (9th Cir. 2012). The Federal Form requires
 8   applicants to check a box under penalty of perjury indicating that they are citizens of the
 9   United States (“Check Box Requirement”). (AAANHPI Compl. ¶ 42.)
10          Arizona had previously imposed a DPOC requirement on applicants using the
11   Federal Form. In 2004, Arizona passed a law requiring all applicants for voter
12   registration, regardless of whether they used the Federal or State Form, to provide DPOC
13   in order to register. (USA Compl. ¶ 41.) In 2013, the United States Supreme Court held
14   that the National Voter Registration Act (“NVRA”) preempted Arizona’s requirement as
15   applied to applicants using the Federal Form. See Arizona v. Inter Tribal Council of
16   Arizona, Inc., 570 U.S. 1, 20 (2013). The Federal Form contains “only such identifying
17   information (including the signature of the applicant) and other information (including
18   data relating to previous registration by the applicant), as is necessary to enable the
19   appropriate State election official to assess the eligibility of the applicant and to
20   administer voter registration and other parts of the election process.” 52 U.S.C.
21   § 20508(b)(1). Because the NVRA mandates that states “accept and use” the Federal
22   Form—which does not require applicants to provide DPOC—the Inter Tribal Court held
23   that Arizona could not “requir[e] a Federal Form applicant to submit information beyond
24   that required by the form itself,” including DPOC. 570 U.S. at 12, 20 (“States retain the
25   flexibility to design and use their own registration forms, but the Federal Form provides a
26   backstop: No matter what procedural hurdles a State’s own form imposes, the Federal
27   Form guarantees that a simple means of registering to vote in federal elections will be
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     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 4 of 35



 1   available.”); (AAANHPI Compl. ¶ 42.)2
 2          Plaintiffs allege that ever since Inter Tribal Council, Arizona has attempted to
 3   disenfranchise certain voters. In 2018, the Arizona Secretary of State entered into a
 4   Consent Decree with Plaintiff League of United Latin American Citizens (“LULAC”)
 5   after the nonprofit sued the state for allegedly discriminating against registrants who used
 6   the State Form without providing DPOC. (See Doc. 37, 2:17-cv-04102-DGC, LULAC
 7   Consent Decree; AAANHPI Compl. ¶ 46.) Plaintiffs explain that under the LULAC
 8   Consent Decree, Arizona must “(1) treat all registrants the same regardless of whether
 9   they use the state form or Federal Form, registering all voters for federal elections
10   regardless of provided evidence of citizenship; and (2) check the motor vehicles database
11   for citizenship documentation before limiting voters to federal-only elections.” (Mi
12   Familia Vota Compl. ¶¶ 44–45.)
13          B.     The Voting Laws Passed in 2022
14                 1.     H.B. 2492
15          Former Arizona Governor Doug Ducey signed H.B. 2492 into law on March 30,
16   2022. (See id. ¶ 3.) H.B. 2492 created additional requirements for individuals using either
17   the Federal or State Form. Specifically, the statute mandates registrants show DPOC and
18   Documentary Proof of Residence (“DPOR”) through the following provisions:
19          Requirements for proper registration
            A person is presumed to be properly registered to vote on completion of a
20          registration form . . . that contains at least the name, the residence address
            or the location, proof of location of residence as prescribed by Section 16-
21          123, the date and place of birth and the signature . . . of the registrant . . .
            and a checkmark or other appropriate mark in the “yes” box next to the
22          question regarding citizenship. Any application for registration, including
            an application on a form prescribed by the United States Election
23          Assistance Commission, must contain a checkmark or other appropriate

24   2
      The differences between Arizona’s state and federal voting registration create different
     voter rolls depending on when a voter registered. As described by Plaintiffs:
25          Arizona has three classes of voters: (1) those who registered pre-2005 and
            did not have to show documentary proof of citizenship (because Arizona
26          did not yet require it), who can vote in all elections; (2) those who
            registered post-2005 using the [Federal Form] . . . and did not show
27          documentary proof of citizenship, who can vote only in federal elections;
            and (3) those who registered post-2005 and showed adequate proof of
28          citizenship, who can vote in all elections.
     (Mi Familia Vota Compl. ¶¶ 2, 43.)

                                                 -4-
     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 5 of 35



 1         mark in the “yes” box next to the question regarding citizenship as a
           condition of being properly registered to vote as either a voter who is
 2         eligible to vote a full ballot or a voter who is eligible to vote only with a
           ballot for federal offices. . . .
 3         Proof of location of residence
 4         Except for persons who register pursuant to Section 16-103, a person who
           registers to vote shall provide an identifying document that establishes
 5         proof of location of residence. Any of the identifying documents prescribed
           in Section 16-579, Subsection A, Paragraph 1 constitutes satisfactory proof
 6         of residence.
     H.B. 2492 §§ 4(A), 5. The Federal Form does not require an applicant to list her place of
 7
     birth (“the Birthplace Requirement”). (See AAANHPI Compl. ¶ 63; DNC Compl. ¶ 41.)
 8
     The documents with which an individual can show DPOR are:
 9
           (a) A valid form of identification that bears the photograph, name and
10         address of the elector that reasonably appear to be the same as the name and
           address in the precinct register, including an Arizona driver license, an
11         Arizona nonoperating identification license, a tribal enrollment card or
           other form of tribal identification or a United States federal, state or local
12         government issued identification. Identification is deemed valid unless it
           can be determined on its face that it has expired.
13
           (b) Two different items that contain the name and address of the elector that
14         reasonably appear to be the same as the name and address in the precinct
           register, including a utility bill, a bank or credit union statement that is
15         dated within ninety days of the date of the election, a valid Arizona vehicle
           registration, an Arizona vehicle insurance card, an Indian census card, tribal
16         enrollment card or other form of tribal identification, a property tax
           statement, a recorder’s certificate, a voter registration card, a valid United
17         States federal, state or local government issued identification or any
           mailing that is labeled as “official election material”. Identification is
18         deemed valid unless it can be determined on its face that it has expired.
19         (c) A valid form of identification that bears the photograph, name and
           address of the elector except that if the address on the identification does
20         not reasonably appear to be the same as the address in the precinct register
           or the identification is a valid United States military identification card or a
21         valid United States passport and does not bear an address, the identification
           must be accompanied by one of the items listed in subdivision (b) of this
22         paragraph.
23   Ariz. Rev. Stat. § 16-579(A)(1). Unlike preexisting Arizona law, H.B. 2492 contains no
24   exceptions to the DPOR requirement for applicants who do not have numbered street
25   addresses. (LUCHA Compl. ¶¶ 28, 40.)
26         The statute also mandates different requirements for applicants using the Federal
27   or State Form:
28         Except for a form produced by the United States Election Assistance
           Commission, any application for registration shall be accompanied by


                                                -5-
     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 6 of 35



 1            satisfactory evidence of citizenship as prescribed in Section 16-166,
              Subsection F, and the County Recorder . . . shall reject any application for
 2            registration that is not accompanied by satisfactory evidence of citizenship.
 3   H.B. 2492 § 4(C).
 4            Federal only voters; early ballot; eligibility
           1. A person who has registered to vote and who has not provided satisfactory
 5            evidence of citizenship as prescribed by Section 16-166, Subsection F is not
              eligible to vote in presidential elections.
 6         2. A person who has not provided satisfactory evidence of citizenship
              pursuant to Section 16-166, Subsection F and who is eligible to vote only
 7            for federal offices is not eligible to receive an early ballot by mail.
     Id. § 5(A).
 8
              The statute places the burden on County Recorders to implement the provisions of
 9
     H.B. 2492. A County Recorder “shall cancel a registration” when “the County Recorder
10
     receives and confirms information that the person registered is not a United States
11
     citizen.” Id. § 8(A)(10). Election officials also have duties to verify registrants’
12
     citizenship. “Within ten days after receiving an application for registration [through the
13
     Federal Form] that is not accompanied by [DPOC], the county recorder or other officer in
14
     charge of elections shall use all available resources to verify the citizenship status of the
15
     applicant.” Id. § 4(D). The statute prescribes a specific verification process:
16
              . . . [A]t a minimum, [the election official] shall compare the information
17            available on the application for registration with the following, provided the
              county has access:
18         1. The Department of Transportation databases of Arizona diver licenses or
              nonoperating identification licenses.
19
           2. The Social Security Administration databases.
20
           3. The United States Citizenship and Immigration Services Systemic Alien
21            Verification for Entitlements program, if practicable.
22         4. A National Association for Public Health statistics and information systems
              electronic verification of vital events system.
23
           5. Any other state, city, town, county or federal database and any other
24            database relating to voter registration to which the County Recorder . . . has
              access, including an electronic registration information center database.
25
     Id.
26
              The statute provides for three different outcomes from this verification. First, if the
27
     election official “matches the applicant with information that verifies the applicant is a
28
     United States citizen . . . the applicant shall be properly registered.” Id. § 4(E). Second, if


                                                   -6-
     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 7 of 35



 1   the election official “matches the applicant with information that the applicant is not a
 2   United States citizen, the County Recorder . . . shall reject the application, notify the
 3   applicant that the applicant was rejected because the applicant is not a United States
 4   citizen and forward the application to the county attorney and Attorney General for
 5   investigation.” Id. Third, if the election official “is unable to match the applicant with
 6   appropriate citizenship information, the [official] shall notify the applicant that [her
 7   citizenship could not be verified] and that the applicant will not be qualified to vote in a
 8   presidential election or by mail with an early ballot in any election until satisfactory
 9   evidence of citizenship is provided.” Id.
10          Lastly, the statute provides for prosecution of certain registrants referred for
11   investigation. Election officials must “make available to the Attorney General a list of all
12   individuals who are registered to vote and who have not provided satisfactory evidence of
13   citizenship pursuant to Section 16-166.” Id. § 7(A). The Attorney General must then use
14   “all available resources to verify the citizenship” of the referred applicants and “at a
15   minimum shall compare the information available on the application for registration”
16   with the same databases listed in § 4(D) of the statute. Id. § 7(B). “The Attorney General
17   shall prosecute individuals who are found to not be United States citizens pursuant to
18   Section 16-182.” Id. § 7(D).
19          Both parties detail the application and impact of H.B. 2492. Plaintiffs allege that
20   absent such proof of citizenship as described in H.B. 2492, (1) new registrants cannot use
21   the Federal Form to vote in presidential elections or vote by mail in elections for any
22   office unless they provide additional documentation; (2) currently registered voters who
23   registered using the Federal Form without proof of citizenship cannot vote in presidential
24   elections or vote by mail for any office; and (3) approximately 200,000 Arizona voters
25   who never had to provide proof of citizenship upon registration cannot vote in
26   presidential elections, unless they provide additional documentation of citizenship. (See
27   Mi Familia Vota Compl. ¶¶ 3, 43, 63.) In Defendants’ words, “if you file the Federal
28   Form, you will be registered for congressional elections. And if, in the course of . . .


                                                 -7-
     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 8 of 35



 1   subsequent list maintenance they discover not the absence of evidence of citizenship, but
 2   proof that you are not a citizen, you will be deregistered. [I]f you file the State Form . . .
 3   [y]ou need to provide documentary proof of citizenship or you won’t be registered.”
 4   (Hr’g Tr. at 30:14–21.)
 5          Plaintiffs further describe that “[t]he law provides no details concerning how
 6   long-registered voters will be notified that they must provide new documents, or how
 7   they will be given an opportunity to do so.” (Mi Familia Vota Compl. ¶¶ 3, 65.) Plaintiffs
 8   also allege that there is no cutoff date in the statute by which a registration must be
 9   cancelled, meaning “nothing prevent[s] the county recorder or other election official from
10   removing a voter from the rolls, or otherwise blocking them from voting by mail or in
11   presidential elections, weeks or even days before an election, when it is too late for the
12   affected voters to correct any error.” (Doc. 1, 22-cv-1369, Democratic National
13   Committee Compl. (“DNC Compl.”) ¶ 39.)
14                 2.     H.B. 2243
15          On July 6, 2022, Governor Ducey signed H.B. 2243 into law. (LUCHA Compl.
16   ¶ 18.) According to Plaintiffs, H.B. 2243 reenforces and extends several of the
17   requirements imposed by H.B. 2492. Like H.B. 2492, H.B. 2243 provides for
18   cancellation of registration and investigation of registrants should they fail to meet certain
19   requirements. (AAANHPI Compl. ¶ 84 (citing H.B. 2243 § 2).) H.B. 2243 also adds
20   verification deadlines for registrants and mandates that election officials perform
21   additional verification procedures. Specifically,
22          When the County Recorder obtains information pursuant to this Section and
            confirms that the person registered is not a United States citizen . . .
23          [b]efore the County Recorder cancels a registration pursuant to this
            paragraph, the County Recorder shall send the person notice by
24          forwardable mail that the person’s registration will be canceled in thirty
            five days unless the person provides satisfactory evidence of United States
25          citizenship pursuant to Section 16-166. The notice shall include a list of
            documents that person may provide and a postage prepaid preaddressed
26          returned envelop. If the person registered does not provide satisfactory
            evidence within thirty five days, the County Recorder shall cancel the
27          registration and notify the county attorney and Attorney General for
            possible investigation.
28   H.B. 2243 § 2(A)(10).


                                                 -8-
     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 9 of 35



 1          Plaintiffs point out that not all registrants suspected of being ineligible to vote in
 2   Arizona are subject to a 35-day deadline3 to provide documentation. (See AAANHPI
 3   Compl. ¶¶ 16–18, 60.) Certain registrants suspected of lacking Arizona residency are
 4   subject to a more lenient response deadline under the statute:
 5          Each month the Department of Transportation shall furnish to the Secretary
            of State . . . a list of persons who the Department has been notified have
 6          been issued a driver license . . . in another state. [After receiving this list
            from the Secretary of State,] [t]he County Recorder shall promptly send
 7          notice by forwardable mail to each person who has obtained a driver license
            . . . in another state and a postage prepaid preaddressed return form
 8          requesting the person confirm by signing under penalty of perjury that the
            person is a resident of this state and is not knowingly registered to vote in
 9          another state . . . . If the person returns the form within ninety days
            confirming that the person is a resident of this state, the County Recorder
10          shall maintain the registration in active status. If the person fails to return
            the form within ninety days, the County Recorder shall place the person’s
11          registration in inactive status.

12   H.B. 2243 § 2(E).

13          H.B. 2243 also mandates monthly review and potential purging of voter rolls.

14   Specifically,
            To the extent practicable, each month the County Recorder shall compare
15          persons who are registered to vote in that county and who the county
            recorder has reason to believe are not United States citizens and persons
16          who are registered to vote without satisfactory evidence of citizenship as
            prescribed by Section 16-166 with the Systemic Alien Verification for
17          Entitlements program maintained by the United States Citizenship and
            Immigration Services to verify the citizenship status of the persons
18          registered.
19   Id. § 2(H). County Recorders must conduct similar checks with the Social Security
20   Administration Database, Verification of Vital Events System, and “relevant city, town,
21   county, state and federal databases to which the County Recorder has access to confirm
22   information obtained that requires cancellation of registrations pursuant to this Section.”
23   Id. § 2(G), (I)–(J).
24          Lastly, “[a]fter cancelling a registration pursuant to this Section, the County
25   Recorder shall send a notice by forwardable mail informing the person that the person’s
26
     3
       Plaintiffs add that Governor Ducey vetoed a previous version of H.B. 2243, expressing
27   his concerns that the previous bill risked “disturb[ing]” the right to vote “without
     sufficient due process.” (See AAANHPI Compl. ¶¶ 57–58.) The previous bill gave
28   individuals suspected of lacking United States citizenship 90 days to provide DPOC. (Id.
     ¶ 60.) H.B. 2243, as enacted, reduced that response period to 35 days. (Id.)

                                                 -9-
     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 10 of 35



 1   registration has been cancelled, the reason for cancellation, the qualifications of electors
 2   pursuant to Section 16-101 and instructions on registering to vote . . . .” Id. § 2(K).
 3          C.     Legality of the Voting Laws
 4          Plaintiffs claim that the Voting Laws are illegal in multiple respects.
 5                 1.     Preemption Under Inter Tribal Council
 6          Plaintiffs allege that “[i]n essence, H.B. 2492 creates three distinct voter rolls in
 7   Arizona—one for all local, state, and federal elections, one for U.S. House and Senate
 8   elections, and one for Presidential elections.” (AAANHPI Compl. ¶ 72.) Under Inter
 9   Tribal Council, as interpreted by Plaintiffs, the NVRA preempts Arizona’s requirement
10   that Federal Form users provide DPOC in order to vote for President. (E.g. Mi Familia
11   Vota Compl. ¶¶ 97–99.) The United States details that during legislative hearings on H.B.
12   2492, legislative counsel warned that the NVRA would preempt the statute’s DPOC
13   requirement for Federal Form users. (USA Compl. ¶ 45 (referencing Inter Tribal Council,
14   570 U.S. at 20).) House Speaker Pro Tempore Travis Grantham responded that defending
15   H.B. 2492 would be a “fight worth having” in court. (Id. ¶ 46; LUCHA Compl. ¶ 209.)
16                 2.     Arbitrary & Discriminatory Verification of Citizenship
17          Plaintiffs also contend that the citizenship verification requirements in the Voting
18   Laws threaten to illegally disenfranchise thousands of Arizonans.
19          After attempting to verify a registrant’s citizenship, County Recorders must
20   “cancel a registration . . . when the [Recorder] receives and confirms information that the
21   person registered is not a United States citizen,” but the statute does not define what
22   “confirms information” means in this context. (AAANHPI Compl. ¶ 82.) Plaintiffs add
23   that the databases used to “confirm” citizenship are “outdated and inaccurate,” which
24   subjects naturalized citizens who might erroneously appear in those databases to
25   disproportionate scrutiny.4 (Id. ¶¶ 73, 86; Poder Latinx Compl. ¶ 127.) Plaintiffs allege on
26
     4
       Plaintiffs posit that the DPOC requirement “disproportionately affect[s] . . . not only
27   Arizona voters who are naturalized citizens . . . but also those who are racial minorities,
     elderly, or recently turned 18 years old, because the law singles out for disparate
28   treatment ‘federal only’ voters, who disproportionately have these characteristics.” (DNC
     Compl. ¶ 40.)

                                                 - 10 -
     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 11 of 35



 1   information and belief that the Systemic Alien Verification for Entitlements database
 2   only contains information on naturalized and derived citizens, not citizens born in the
 3   United States. (Poder Latinx Compl. ¶ 53.) Compounding the alleged risk of arbitrary and
 4   inaccurate enforcement of the verification requirements, “[certain] of these databases
 5   were [not] designed to capture or reflect current citizenship status.” (DNC Compl. ¶¶ 36–
 6   37.) Plaintiffs relatedly allege that H.B. 2243’s “reason to believe” investigation criterion
 7   “essentially allows anyone, without evidence, to simply give a list of names of people
 8   who are purportedly not citizens to the county recorders, thus triggering a check that can
 9   lead to improperly cancelled voter registrations and potential investigation and
10   prosecution of eligible and registered Arizonans.” (AAANHPI Compl. ¶ 86.)
11          Further, Plaintiffs assert that the Voting Laws intentionally target protected groups
12   for investigation, registration cancellation, and prosecution. “AANHPIs and other ethnic
13   groups. . . are disproportionately likely to lack the forms of identification required under
14   H.B. 2492 and H.B. 2243 to register to vote and remain on the voter rolls.” (Id. ¶ 90.)
15   And because AANHPIs and Latinos “comprise a large proportion of naturalized citizens
16   in Arizona and the population of AANHPIs and other ethnic groups in Arizona is rapidly
17   increasing, the birthplace, DPOC, and DPOR requirements imposed by [the Voting
18   Laws] on naturalized citizens has a disproportionate impact” on these protected groups.
19   (See id. ¶ 91 (11,000 Arizona residents naturalized each year between 2014 and 2020,
20   with the largest proportion from Mexico, followed by “Asiatic countries”); LUCHA
21   Compl. ¶ 156 (Voting Laws burden “eligible Latino and language minority voters”).) To
22   support their claim that this disparate impact is deliberate, Plaintiffs point to the allegedly
23   unsubstantiated statements of Representative Jake Hoffman, H.B. 2492’s sponsor, that
24   Arizona’s elections are compromised by fraud and count the votes of “non-U.S. citizen
25   voters.” (LUCHA Compl. ¶¶ 201–02.) Plaintiffs also allege that H.B. 2243’s criterion for
26   enhanced scrutiny of a registrant—“reason to believe” that a registrant is not a United
27   States citizen—invites racial and national origin discrimination. (Poder Latinx Compl.
28   ¶¶ 7, 41; see AAANHPI Compl. ¶¶ 85–86, 88.)


                                                 - 11 -
     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 12 of 35



 1                  3.     Discriminatory Affirmation of Citizenship
 2          Plaintiffs also take issue with the Check Box and Birthplace Requirements. (E.g.
 3   LUCHA Compl. ¶ 273; USA Compl. ¶¶ 57–61.) The United States alleges that by
 4   requiring election officials to reject a registration form without the requisite check mark
 5   when an applicant has already affirmed citizenship under penalty of perjury and provided
 6   DPOC, H.B. 2492 denies “qualified individuals the right to vote” based on an immaterial
 7   “technical[ity].” (USA Compl. ¶¶ 57–61.) Private Plaintiffs allege “on information and
 8   belief, the birthplace requirement will only be used to identify naturalized citizens for
 9   differential, unequal treatment by the state and will act to chill voter registration of
10   AANHPIs, naturalized citizens, and other voters of color in a disproportionate manner.”
11   (AAANHPI Compl. ¶ 94.) Relatedly, Plaintiffs contend that such added complexities of
12   properly registering to vote risk disenfranchising “language minority” groups in Arizona,
13   including Arizona’s naturalized Latino population. (LUCHA Compl. ¶¶ 186–91.)
14                  4.     Discriminatory Documentary Proof of Residence
15          Plaintiffs assert that “because many residences on Indian reservations in Arizona
16   lack a numbered street address or residential address, many enrolled members of tribes
17   are likely to be prevented from voting by the DPOR requirement.” (Id. ¶ 29.) Indeed,
18   Plaintiff San Carlos Apache Tribe alleges that on the San Carlos Apache Reservation,
19   “many residences are not assigned a physical numbered street address. Instead, members
20   of the Tribe commonly describe where they live using . . . mile markers on Route 70,
21   Bureau of Indian Affairs’ Indian Routes, or other landmarks and distances.” (Id. ¶ 32.)
22   The Tribe’s members often lack documents bearing their name and residential address
23   and will be unable to satisfy H.B. 2492’s DPOR requirement. (Id. ¶ 35.) Plaintiffs add
24   that the “experience for citizens of the San Carlos Apache is also the norm for many other
25   Tribal citizens residing on the reservations of . . . other . . . Tribes in Arizona.”5 (Id. ¶ 38.)
26   5
       In addition to specific protected groups that risk disenfranchisement under the Voting
     Laws, Plaintiffs claim that the DPOR requirement will prevent other Arizonans from
27   voting. For example, students living and eligible to vote in Arizona often carry out of
     state drivers’ licenses and cannot pay to obtain an additional Arizona state identification.
28   (LUCHA Compl. ¶ 241.) These would-be voters will be unable to meet the DPOR
     requirement. (Id.)

                                                   - 12 -
     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 13 of 35



 1   The DPOR requirement will consequently “burden a substantial portion of the Native
 2   population in Arizona, and this burden will be unique when compared to other eligible
 3   Arizona voters.”6 (Id. ¶ 139.)
 4                 5.     The Parties’ Interests
 5          Plaintiffs claim that Arizona has no legitimate reason for the Birthplace
 6   Requirement when individuals must already provide DPOC to vote in state elections, and
 7   such unnecessary emphasis on national origin evidences the discriminatory intent behind
 8   the Birthplace Requirement. (See AAANHPI Compl. ¶ 94.) Relatedly, Plaintiffs argue
 9   that there is “no evidence of widespread voter fraud or non-U.S. citizen voting in
10   Arizona.” (LUCHA Compl. ¶¶ 198–99.) Arizona cannot, according to Plaintiffs, identify
11   even a rational state interest served by “the DPOC requirement, Birthplace Requirement,
12   Checkmark Requirement, or the mandated use of outdated and incorrect citizenship data
13   to reject voter registration applications and purge eligible voters from the rolls.” (Id.
14   ¶ 197; see USA Compl. ¶¶ 49, 53–54.) Plaintiffs forecast that “the restrictions imposed
15   by HB 2492 and HB 2243 will not enhance electoral security. Instead, they will make
16   voter registration rolls less reliable, and will undermine the public’s confidence in
17   Arizona’s elections.” (LUCHA Compl. ¶ 204.)
18          All Plaintiffs have asserted interests against the enforcement of the Voting Laws.
19   Specifically, several Private Plaintiffs allege that implementation of the Voting Laws will
20   harm both the entities and their respective constituents. (See, e.g., AAANHPI Compl.
21   ¶¶ 101–12.) These Plaintiffs claim that the Voting Laws have forced and will force them
22   to divert organizational resources to “train [their] staff and volunteers on the new
23   regulations and educate potential voters, who often have limited English proficiency, on
24   the additional documentation required to register to vote.” (Id. ¶¶ 101–02.) Without the
25   alleged barriers to voting imposed by the Voting Laws, “Plaintiff[s] would have the
26   ability to use [their] limited resources in reaching out to more voters through . . . voter
27   6
       Plaintiffs also claim that H.B. 2492’s disproportionate impact on Native Americans is
     intentional, in that the Arizona Legislature aims to repress the “increased political
28   mobilization by Native voters” seen in the 2020 presidential election. (LUCHA Compl.
     ¶¶ 149–50.)

                                               - 13 -
     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 14 of 35



 1   registration, mobilization, and participation efforts.” (Id. ¶ 102.) Further, certain Private
 2   Plaintiffs assert that the Voting Laws will diminish the impact of their work, as some of
 3   their constituents will be removed from voter rolls and deterred from voting or
 4   registering. (Id. ¶¶ 101–05, 112.)
 5          As for Defendants, they assert that the Voting Laws advance Arizona’s interest in
 6   “reducing administrative burdens,” “securing its elections,” and “maintaining voter
 7   confidence.” (Mot. at 16.)
 8          D.     Procedural History
 9          On March 31, 2022, Mi Familia Vota Plaintiffs7 filed their Complaint in this
10   Court. (Doc. 1, 03/31/2022 Mi Familia Vota Compl.) The United States and additional
11   Private Plaintiffs subsequently filed lawsuits attacking the legality of the Voting Laws.
12   These lawsuits have been consolidated into the instant case. (E.g. Doc. 164, 11/10/2022
13   Order re: Consolidation.) All Plaintiffs make at least one of the following claims: the
14   Voting Laws (1) place an undue burden on the right to vote, violating the First and
15   Fourteenth Amendments of the United States Constitution; (2) enable arbitrary and
16   disparate treatment of voters, violating the Equal Protection Clause of the Fourteenth
17   Amendment (“Equal Protection Clause”); (3) enable national origin discrimination in
18   violation of the Fourteenth Amendment; (4) discriminate based on race, violating the
19   Fourteenth and Fifteenth Amendments; (5) deprive procedural due process (6) violate
20   § 10101 of the Civil Rights Act of 1964; (7) violate Sections 5, 6, and 8 of the NVRA;
21   and (8) violate the Voting Rights Act.
22          On September 16, 2022, Defendants8 filed the Motion, to which Plaintiffs filed
23   their Oppositions on October 17, 2022. (Mot.; Doc. 150, Mi Familia Opp’n; Doc. 151,
24   Democratic National Committee Opp’n (“DNC Opp’n”); Doc. 152, United States Opp’n;
25   Doc. 153, Living United for Change in Arizona Opp’n (“LUCHA Opp’n”); Doc. 154,
26   7
       The Court references organizational Plaintiffs that have filed collectively under the
     name of one organization. “LUCHA Plaintiffs,” for example, includes all additional
27   Plaintiffs that are named on the briefing with LUCHA.
     8
       Plaintiffs also sued the Arizona Secretary of State and all Arizona County Recorders in
28   their official capacities. (E.g., Mi Familia Vota Compl. ¶¶ 22, 24–39.) These Defendants
     did not join the Motion. (See Mot.)

                                                - 14 -
     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 15 of 35



 1   Poder Latinx Opp’n; Doc. 89, 22-cv-1381, AAANHPI Opp’n.) Defendants filed their
 2   Consolidated Reply on November 23, 2022. (Doc. 180, Reply.) The Court held oral
 3   argument on the Motion on December 15, 2022. (Doc. 187, Min. Entry.)
 4   II.     LEGAL STANDARDS & ANALYSIS
 5           Defendants argue that Plaintiffs lack standing to sue and bring unripe claims.
 6   (Mot. at 9–13.) Defendants alternatively argue that Plaintiffs have failed to state claims
 7   that the Voting Laws are unlawful. (Id. at 14–30.) The Court addresses each argument in
 8   turn.
 9           A.    Rule 12(b)(1)
10           Rule 12(b)(1) allows parties to move to dismiss for lack of subject matter
11   jurisdiction. As courts of limited jurisdiction, federal courts may only hear cases as
12   permitted by Congress and the U.S. Constitution. See Kokkonen v. Guardian Life Ins.
13   Co., 511 U.S. 375, 377 (1994). Federal jurisdiction is therefore presumed absent until the
14   claimant demonstrates otherwise. Id. “A Rule 12(b)(1) jurisdictional attack may be facial
15   or factual.” Safe Air for Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004). A facial
16   attack “assert[s] that the allegations contained in a complaint are insufficient on their face
17   to invoke federal jurisdiction.” Id. The court accepts the plaintiff’s allegations as true and
18   draws all reasonable inferences in the plaintiff’s favor. Leite v. Crane Co., 749 F.3d 1117,
19   1121 (9th Cir. 2014). From there, the court “determines whether the allegations are
20   sufficient as a legal matter to invoke the court’s jurisdiction.” Id. A factual attack
21   challenges the underlying factual allegations by introducing evidence beyond the
22   pleadings. Id. In either instance, the party asserting jurisdiction bears the burden of proof.
23   Indus. Tectonics, Inc. v. Aero Alloy, 912 F.2d 1090, 1092 (9th Cir. 1990).
24                 1.     Standing
25           Under Article III of the United States Constitution, a plaintiff does not have
26   standing unless it can show (1) an “injury in fact” that is concrete and particularized and
27   actual or imminent, not hypothetical; (2) that the injury is fairly traceable to the
28   challenged action of the defendant; and (3) that it is likely, as opposed to merely


                                                 - 15 -
     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 16 of 35



 1   speculative, that the injury will be redressed by a favorable decision. See Lujan v. Defs. of
 2   Wildlife, 504 U.S. 555, 560–61 (1992) (cleaned up). “At the pleading stage, general
 3   factual allegations of injury resulting from the defendant’s conduct may suffice[.]” Id. at
 4   561. In cases for prospective injunctive relief, “past wrongs do not in themselves amount
 5   to that real and immediate threat of injury necessary to make out a case or controversy.”
 6   City of Los Angeles v. Lyons, 461 U.S. 95, 103 (1983). Rather, a plaintiff’s “standing to
 7   seek the injunction requested depend[s] on whether he [is] likely to suffer future injury.”
 8   Id. at 105. When addressing behavior that is alleged to increase the risk of future injury,
 9   the future injury must be “certainly impending.” Clapper v. Amnesty Int’l, 568 U.S. 398,
10   409 (2013). Plaintiffs must establish standing “for each claim for relief.” Little Sisters of
11   the Poor Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct. 2367, 2379 n.6 (2020).
12          “[A]n organization has direct standing to sue where it establishes that the
13   defendant’s behavior has frustrated its mission and caused it to divert resources in
14   response to that frustration of purpose.” E. Bay Sanctuary Covenant v. Biden, 993 F.3d
15   640, 663 (9th Cir. 2021) (citing Fair Hous. of Marin v. Combs, 285 F.3d 899, 905 (9th
16   Cir. 2002)). Organizations cannot “manufacture the injury by incurring litigation costs,”
17   but they can show standing when they “would have suffered some other injury had they
18   not diverted resources to counteracting the problem.” Id. (internal quotations omitted).
19   And even if the diversion-of-resources injury is “broadly alleged,” such allegations are
20   still “sufficient to establish organizational standing at the pleading stage.” Nat’l Council
21   of La Raza v. Cegavske, 800 F.3d 1032, 1040 (9th Cir. 2015) (citation omitted).
22   Moreover, “[o]nly one plaintiff needs to have standing when only injunctive relief is
23   sought.” DNC v. Reagan, 329 F. Supp. 3d 824, 841 (D. Ariz. 2018) (citing Crawford v.
24   Marion Cnty. Election Bd., 472 F.3d 949, 951 (7th Cir. 2007)) (finding standing where
25   Arizona Democratic Party and additional private plaintiffs requested injunctive and
26   declaratory relief against Arizona election law), aff’d sub nom. DNC v. Hobbs, 9 F.4th
27   1218, 1219 (9th Cir. 2021) (Mem.); Mecinas v. Hobbs, 30 F.4th 890, 897 (9th Cir. 2022)
28   (“In a suit with multiple plaintiffs, generally only one plaintiff need have standing for the


                                                - 16 -
     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 17 of 35



 1   suit to proceed.”); c.f. We Are America/Somos America, Coal. of Arizona v. Maricopa
 2   Cnty. Bd. of Supervisors, 809 F. Supp. 2d 1084, 1091 (D. Ariz. 2011) (district court is not
 3   “strictly prohibit[ed]” from considering multiple plaintiffs’ standing, despite “general
 4   rule” on appeal that only one plaintiff need have standing).
 5          Plaintiffs have standing to sue.9 Defendants concede that the United States has
 6   standing to bring its claims. (See Hr’g Tr. at 6:22–7:3.) Private Plaintiffs have also
 7   established organizational standing. LUCHA Plaintiffs plausibly allege that the Voting
 8   Laws will force LUCHA, which has previously conducted voter registration and
 9   education activities and plans to continue these activities in the future, to “divert money,
10   personnel, time, and resources away from other activities” as a result of the requirements
11   imposed by the Voting Laws. (LUCHA Compl. ¶¶ 214–16, 223–24.) LUCHA also serves
12   naturalized citizens, and as explained below Plaintiffs have plausibly alleged that this
13   group will be disproportionately disenfranchised under the Voting Laws. (Id. ¶¶ 211–13;
14   infra II(B)(1)(a), (2)(a).) LUCHA anticipates not only that some its “assisted voters” will
15   be prevented from voting by the Voting Laws’ DPOC and DPOR requirements, but also
16   that many of the individuals it seeks to mobilize will be “intimidated and discouraged
17   from registering to vote, even though they are eligible, because of the unconstitutional
18   limits imposed on the exercise of their franchise by H.B. 2492 and H.B. 2243.” (LUCHA
19   Compl. ¶¶ 218–19.) LUCHA has standing to sue. See Reagan, 329 F. Supp. 3d at 841
20   (finding standing where “the new law injures the [organizational plaintiff] by compelling
21   [it] to devote resources to getting to the polls those of its supporters who would otherwise
22   be discouraged by the new law from bothering to vote.” (citation omitted)). The Court
23   need not assess whether additional Plaintiffs have standing.
24                 2.     Ripeness
25          Defendants also argue that Plaintiffs’ claims are constitutionally and prudentially
26   unripe. (Mot. at 12–14.) A claim is constitutionally ripe when a plaintiff’s injury is
27
     9
      Defendants argue that Plaintiffs’ claims are not redressable through the instant suit, as
28   Plaintiffs have not named any County Recorders as Defendants. (Mot. at 2, 11–12.) All
     Arizona County Recorders are now named as Defendants in this action.

                                                - 17 -
     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 18 of 35



 1   “definite and concrete, not hypothetical or abstract.” Thomas v. Anchorage Equal Rights
 2   Comm’n, 220 F.3d 1134, 1139 (9th Cir. 2000) (en banc) (citation omitted). When
 3   evaluating the existence of a definite injury, courts consider whether “plaintiffs have
 4   articulated a concrete plan to violate the law in question, whether the prosecuting
 5   authorities have communicated a specific warning or threat to initiate proceedings, and
 6   the history of past prosecution or enforcement under the challenged statute.” Id. (internal
 7   quotation marks and citation omitted). Under the last prong, “the government’s active
 8   enforcement of a statute [may] render . . . the plaintiff’s fear [of injury] . . . reasonable.”
 9   Id. at 1140. To minimize any chilling effect from an unwarranted First Amendment
10   restriction, the Ninth Circuit has “applied the requirements of ripeness and standing less
11   stringently in the context of First Amendment claims.” Wolfson v. Brammer, 616 F.3d
12   1045, 1058 (9th Cir. 2010).
13          Plaintiffs’ claims are constitutionally ripe. Though Plaintiffs do not per se plan to
14   violate the Voting Laws, certain Plaintiffs plausibly allege that their members risk
15   violating the Voting Laws as an incident of inadequate access to DPOR or DPOC.10
16   (LUCHA Compl. ¶¶ 274–85.) Further, as detailed in the surrounding analysis, Plaintiffs
17   plausibly allege that enforcement of the Voting Laws will “imminently” harm their
18   organizational missions. C.f. Protectmarriage.com-Yes on 8 v. Bowen, 752 F.3d 827, 839
19   (9th Cir. 2014) (citation omitted) (even preenforcement claim may be ripe where
20   plaintiffs “confront a realistic danger of sustaining direct injury as a result of the statute’s
21   operation or enforcement”); (see Poder Latinx Opp’n at 4.) And contrary to Defendants’
22   claims, the Court has no reason believe that the Voting Laws will not be enforced. (See
23   Mot. at 12–13 (“Plaintiffs have not alleged any ‘genuine threat of imminent
24   enforcement’”).) Plaintiffs’ injuries are at least reasonably anticipated, not just
25   hypothetical or “theoretically possible.” See Bowen, 752 F.3d at 839–40.
26          Plaintiff’s claims are also prudentially ripe. A claim is prudentially ripe when “the
27   10
       AAANHPI raises that the ripeness inquiry is limited to its prudential component when
     a plaintiff is not “the target of enforcement.” (AAANHPI Opp’n at 4 (citing San Luis &
28   Delta-Mendoza Water Auth. v. Salazar, 638 F.3d 1163, 1173 (9th Cir. 2011)).) This only
     underscores the Court’s conclusion that Plaintiffs’ claims are ripe.

                                                  - 18 -
     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 19 of 35



 1   fitness of the issues for judicial decision and the hardship to the parties of withholding
 2   court consideration” both weigh toward hearing the case. See Ass’n of Irritated Residents
 3   v. EPA, 10 F.4th 937, 944 (9th Cir. 2021) (citing Abbott Labs. v. Gardner, 387 U.S. 136,
 4   149 (1967)). This case primarily hinges on legal issues—preemption under the NVRA,
 5   the ability of Congress to regulate presidential elections, the relative burden of Arizona’s
 6   citizenship verification requirements vis-à-vis other requirements previously evaluated by
 7   the Supreme Court—and discovery will provide any factual development necessary to
 8   fully evaluate the merits of the case. See id. (challenge prudentially ripe where issue was
 9   “purely [a] legal question”); (Poder Latinx Opp’n at 4–6). Moreover, delaying review
10   until after certain Plaintiffs have already been unlawfully removed from Arizona’s voting
11   rolls and prevented from voting would make any review “too late to redress the injuries
12   suffered by [Plaintiffs’] members.” Ass’n of Irritated Residents, 10 F.4th at 944. The
13   Court concludes that Plaintiffs’ claims are ripe for review.
14          B.     Rule 12(b)(6)
15          A Rule 12(b)(6) dismissal for failure to state a claim can be based on either (1) a
16   lack of cognizable legal theory or (2) insufficient facts to support a cognizable legal
17   claim. Conservation Force v. Salazar, 646 F.3d 1240, 1242 (9th Cir. 2011). In
18   determining whether an asserted claim can be sustained, “[a]ll of the facts alleged in the
19   complaint are presumed true, and the pleadings are construed in the light most favorable
20   to the nonmoving party.” Bates v. Mortg. Elec. Registration Sys., Inc., 694 F.3d 1076,
21   1080 (9th Cir. 2012). At this early stage of the litigation, the standard does not mandate
22   that “plaintiff’s explanation . . . be true or even probable.” Starr v. Baca, 652 F.3d 1202,
23   1216–17 (9th Cir. 2011). However, “for a complaint to survive a motion to dismiss, the
24   nonconclusory ‘factual content,’ and reasonable inferences from that content, must be
25   plausibly suggestive of a claim entitling the plaintiff to relief.” Moss v. U.S. Secret Serv.,
26   572 F.3d 962, 969 (9th Cir. 2009) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).
27   In other words, the complaint must contain enough factual content “to raise a reasonable
28   expectation that discovery will reveal evidence” of the claim. Bell Atl. Corp. v. Twombly,


                                                 - 19 -
     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 20 of 35



 1   550 U.S. 544, 556 (2007).
 2          Defendants argue that Plaintiffs have failed to plausibly allege that the Voting
 3   Laws are unlawful under either constitutional or statutory frameworks. (Mot. at 14–30.)
 4                 1.     Anderson-Burdick Claims
 5          Under the Anderson-Burdick framework, courts evaluate the validity of an election
 6   law by balancing the burden the law places on the fundamental right to vote against the
 7   state interests served by the law. See Anderson v. Celebrezze, 460 U.S. 780, 789 (1983).
 8   Specifically, courts must “consider the character and magnitude of the asserted injury to
 9   the rights protected by the First and Fourteenth Amendments that the plaintiff seeks to
10   vindicate”; “identify and evaluate the precise interests put forward by the [s]tate as
11   justifications for the burden imposed by its rule”; “determine the legitimacy and strength
12   of each of those interests”; and “consider the extent to which those interests make it
13   necessary to burden the plaintiff’s rights.” Id.
14          “[T]he severity of the burden the election law imposes on the plaintiff’s rights
15   dictates the level of scrutiny applied by the court.” Nader v. Brewer, 531 F.3d 1028, 1034
16   (9th Cir. 2008) (citing Burdick v. Takushi, 504 U.S. 428, 434 (1992)). “Regulations
17   imposing severe burdens on plaintiffs’ rights must be narrowly tailored and advance a
18   compelling state interest. Lesser burdens, however, trigger less exacting review, and a
19   State’s important regulatory interests will usually be enough to justify reasonable,
20   nondiscriminatory restrictions.” Pierce v. Jacobsen, 44 F.4th 853, 859–60 (9th Cir. 2022)
21   (quoting Timmons v. Twin Cities Area New Party, 520 U.S. 351, 358 (1997)). A
22   restriction is “not severe” when it is “generally applicable, even-handed, politically
23   neutral, and . . . protect[s] the reliability and integrity of the election process.” Rubin v.
24   City of Santa Monica, 308 F.3d 1008, 1014 (9th Cir. 2002). This balance means that
25   voting regulations are rarely subjected to strict scrutiny. See Lemons v. Bradbury, 538
26   F.3d 1098, 1104 (9th Cir. 2008).
27          Plaintiffs assert that the Voting Laws place an undue burden on the right to vote in
28   several ways. Defendants counter that Plaintiffs have failed to state claims under the


                                                 - 20 -
     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 21 of 35



 1   Anderson-Burdick doctrine because “the burdens involved [in complying with the Voting
 2   Laws] are not significant” and are “justified by the State’s compelling interests.” (Mot. at
 3   14.) The Court disagrees with Defendants.
 4                        a.     Burden on Identifiable Segment of Voters
 5          Plaintiffs make several plausible claims that the Voting Laws “place a particular
 6   burden on an identifiable segment of voters [which is] more likely to raise constitutional
 7   concerns.” Ariz. Democratic Party v. Hobbs, 18 F.4th 1179, 1190 (9th Cir. 2021) (Mem)
 8   (“Hobbs III”) (citing Anderson, 460 U.S. at 792). For example, the San Carlos Apache
 9   Tribe alleges that a significant number of its 11,000 members in Arizona “are likely to be
10   unable to obtain [DPOR], as required by H.B. 2492, either because their residence lacks a
11   numbered street address entirely, or because they are not officially listed as a resident of
12   the home where they stay.” (LUCHA Compl. ¶¶ 284, 312; LUCHA Opp’n at 2–4.) The
13   alleged effect of the DPOR requirement on Tribal members “will be unique when
14   compared to other eligible Arizona voters . . . giving [Tribal members] less opportunity
15   than other eligible Arizona voters to participate in the political process and elect
16   representatives of their choice.” (LUCHA Compl. ¶¶ 137, 139; see also AAANHPI
17   Compl. ¶¶ 117–18 (Voting Laws’ DPOC requirement and verification particularly burden
18   “AANHPIs, naturalized citizens, and other voters of color.”); Mi Familia Vota Compl.
19   ¶ 79.) Plaintiffs additionally allege that the Voting Laws undermine public confidence in
20   Arizona’s elections and draw upon legislative history to claim that the Voting Laws were
21   intended to discriminate against certain protected groups. (E.g., LUCHA Compl. ¶ 326;
22   AAANHPI Compl. ¶¶ 53–54.) Relatedly, Plaintiffs allege that Arizona has no legitimate
23   interest in the mandates underlying the Voting Laws. (AAANHPI Compl. ¶¶ 116–17;
24   LUCHA Compl. ¶¶ 195–97, 325; DNC Compl. ¶ 46.) Plaintiffs have stated a claim that
25   the Voting Laws impose a burden on the right to vote without a corresponding
26   justification.
27                        b.     Arbitrary State and Federal Form Distinction
28          Plaintiffs also plausibly allege, both within the Anderson-Burdick framework and


                                                - 21 -
     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 22 of 35



 1   under the traditional Equal Protection framework,11 that H.B. 2492 arbitrarily treats
 2   registrants differently depending on whether they used the Federal or State Form.
 3   (LUCHA Opp’n at 7–8; LUCHA Compl. ¶¶ 309, 313; e.g., Mi Familia Vota Compl.
 4   ¶¶ 89–90.) In other words, Plaintiffs have stated a claim that the Voting Laws are not
 5   “generally applicable.” See Rubin, 308 F.3d at 1014.
 6         LUCHA Plaintiffs detail that the Voting Laws violate the LULAC Consent Decree
 7   and arbitrarily prevent State Form users who did not provide DPOC from voting in any
 8   election, while Federal Form users who did not provide DPOC may still vote in
 9   congressional elections. (LUCHA Opp’n. at 8.) Federal and State Form users are not
10   suspect classes, so the State need only show that there is a rational basis for
11   discriminating against State Form users. See McDonald v. Bd. of Election Com’rs of
12   Chicago, 394 U.S. 802, 808–09 (1969) (“The [race- and wealth-neutral] distinctions
13   drawn by a challenged statute must bear some rational relationship to a legitimate state
14   end and will be set aside as violative of the Equal Protection Clause only if based on
15   reasons totally unrelated to the pursuit of that goal.”); Weber v. Shelley, 347 F.3d 1101,
16   1107 n.2 (9th Cir. 2003). It is undisputed that a State Form applicant who did not provide
17   DPOC will be barred from voting at all, whereas a Federal Form registrant will be
18   allowed to vote in certain federal elections. (LUCHA Opp’n at 7.) Both Federal and
19   State Form users have affirmed citizenship under penalty of perjury. (Id. at 8.)
20   Defendants counter that requiring DPOC and DPOR from State Form users increases
21   “confiden[ce]” that registrants “are indeed U.S. citizens and reside in the districts in
22
     11
        Poder Latinx Plaintiffs similarly claim that the Voting Laws subject registrants to
23   “arbitrary and disparate treatment,” but they rely on the Equal Protection standard
     articulated in Bush v. Gore, 531 U.S. 98, 104–09 (2000) to assert this claim. (Poder
24   Latinx Compl. ¶¶ 120–29.) The Motion does not directly address this claim. (See Mot.;
     Poder Latinx Opp’n at 9.) Instead, Defendants generally assert that any Equal Protection
25   challenges to the Voting Laws pled outside of the Anderson-Burdick framework are
     improperly presented to the Court. (Mot. at 17.) However, the authority Defendants cite
26   for this assertion does not foreclose constitutional claims pled outside of the Anderson-
     Burdick framework. (See id. at 17–18 (citing Dudum v. Arntz, 640 F.3d 1098, 1106 n.15
27   (9th Cir. 2011) (observing that the Supreme Court “has addressed [First Amendment,
     Due Process, and Equal Protection claims] collectively using a single analytic
28   framework” but noting that plaintiff did not suggest separate analyses for his claims
     beyond Anderson-Burdick)).)

                                               - 22 -
     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 23 of 35



 1   which they intend to cast a vote.” (See Mot. at 18–19.) But Defendants do not offer any
 2   basis for preventing State Form applicants from voting at all without DPOC. (See id.)
 3          Plaintiffs seem to disagree regarding whether this discrimination claim is analyzed
 4   under the Anderson-Burdick framework. (Compare MFV Opp’n at 5–6 (analyzing
 5   disparate treatment of Federal and State Form users under Anderson-Burdick) with
 6   LUCHA Opp’n at 7 (separately analyzing disparate treatment claim).) The Court
 7   concludes that Plaintiffs have stated a claim that the Voting Laws arbitrarily discriminate
 8   based on use of Federal or State Forms under either framework.12
 9                        c.     Fact-Sensitive Inquiry
10          The procedural posture of this case also weighs against granting the Motion.
11   Plaintiffs correctly note that because Anderson-Burdick claims are particularly fact-
12   sensitive, dismissal under Rule 12(b)(6) is disfavored. (LUCHA Opp’n at 4; MFV Opp’n
13   at 2–3); see, e.g., Soltysik v. Padilla, 910 F.3d 438, 447, 450 (9th Cir. 2018) (reversing
14   “premature” grant of dismissal, as court could not determine “without any factual record .
15   . . [whether the state’s] justifications outweigh the constitutional burdens”); Mecinas, 30
16   F.4th at 905 (“[T]he magnitude of the asserted injury [under Anderson-Burdick]. . .
17   present[s] factual questions that cannot be resolved on a motion to dismiss.”). Defendants
18   also cite Crawford v. Marion County to argue that requiring voter identification to vote is
19   not an undue burden as a matter of law. (See Mot. at 15–16 (citing 553 U.S. 181, 185,
20   199 (2008)).) Plaintiffs counter not only that the law upheld in Crawford provided for
21   alternative ways to vote without the requisite identification, but also that Crawford
22   addressed Anderson-Burdick claims on summary judgment. (LUCHA Opp’n at 4 n.6; see
23   also AAANHPI Opp’n at 8); 553 U.S. at 185, 187, 201. Defendants have not brought any
24   identical state laws upheld under Anderson-Burdick to the Court’s attention, nor is the
25   Court aware of any. The Court will not dismiss Plaintiffs’ Anderson-Burdick claims.
26                 2.     Additional Constitutional Claims
27   12
        Applying a traditional Equal Protection analysis, Plaintiffs must plausibly allege that
     there is no rational basis for Arizona’s distinction between Federal and State Form users
28   voting in federal elections. (See LUCHA Compl. ¶¶ 86, 328.) Plaintiffs have met their
     burden to do so. (See LUCHA Opp’n at 8.)

                                               - 23 -
     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 24 of 35



 1                        a.     National Origin & Race Discrimination
 2          Several Plaintiffs claim that the Voting Laws discriminate based on national origin
 3   and race, both allegedly violating the Equal Protection Clause. (See, e.g., LUCHA
 4   Compl. ¶¶ 329–35; AAANHPI Compl. ¶¶ 143–50.) There are two “strands of equal
 5   protection doctrine: suspect classifications and fundamental rights. The first strand bars a
 6   state from codifying a preference for one class over another, but it prescribes heightened
 7   scrutiny only where the classification is drawn from . . . race, gender, alienage, [or]
 8   national origin. The second strand bars a state from burdening a fundamental right for
 9   some citizens but not for others. Absent some such burden, however, legislative
10   distinctions merit no special scrutiny.” Short v. Brown, 893 F.3d 671, 678–79 (9th Cir.
11   2018) (internal citations omitted). The Court addresses each alleged constitutional
12   violation in turn.
13          First, Plaintiffs allege the Voting Laws facially discriminate based on national
14   origin. (LUCHA Compl. ¶¶ 100–01, 110–16.) LUCHA details that by requiring
15   applicants to list their place of birth and “subject[ing] voters to additional burdensome
16   procedures to verify their eligibility to vote, as well as mandatory criminal investigation,
17   only if they were born outside the United States,” the Voting Laws unconstitutionally
18   discriminate against naturalized citizens. (LUCHA Opp’n at 6.) Plaintiffs have plausibly
19   alleged a scenario where a naturalized citizen who lawfully obtained state identification
20   in Arizona before obtaining citizenship would be flagged as a noncitizen under the
21   verification provisions of the Voting Laws. (LUCHA Compl. ¶¶ 100–33.) Considering
22   Plaintiffs’ detailed allegations regarding the unreliable “data-matching process”
23   mandated by the Voting Laws, the Birthplace Requirement—particularly combined with
24   the Check Box Requirement—and H.B. 2243’s “reason to believe” criterion for
25   investigating citizenship status, the Court finds that Plaintiffs have stated a claim that the
26   Voting Laws are facially discriminatory based on national origin. (See id. ¶¶ 113, 116;
27   AAANHPI Compl. ¶ 87.) Alternatively, even under Anderson-Burdick, total deprivation
28   of the opportunity to vote is a severe burden and burdening voters based on foreign


                                                 - 24 -
     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 25 of 35



 1   national origin separately demands strict scrutiny. Short, 893 F.3d at 678–79 (applying
 2   Anderson-Burdick). Plaintiffs have stated a claim that naturalized citizens will incur such
 3   a burden solely by virtue of their birthplace.
 4          Defendants attempt to counter Plaintiffs’ claims of national origin discrimination
 5   by arguing that Plaintiffs have not adequately alleged discriminatory intent. (Mot. at 20–
 6   22.) As above explained, Plaintiffs have stated a claim that the Voting Laws are facially
 7   unconstitutional, which does not require a finding of discriminatory intent. (See LUCHA
 8   Opp’n at 6–7); Mitchell v. Washington, 818 F.3d 436, 445–46 (9th Cir. 2016) (“When the
 9   government expressly classifies persons on the bases of race or national origin . . . its
10   action is ‘immediately suspect’. . . . A plaintiff in such a lawsuit need not make an
11   extrinsic showing of discriminatory animus or a discriminatory effect to trigger strict
12   scrutiny.”) (alterations in original) (citation omitted)); Walker v. Gomez, 370 F.3d 969,
13   974 (9th Cir. 2004) (plaintiff need not prove discriminatory intent or impact when policy
14   is suspect on its face) (citing Loving v. Virginia, 388 U.S. 1, 8–9 (1967)).
15          In any event, the Court alternatively finds that Plaintiffs have adequately alleged
16   discriminatory intent such that they have stated a claim that the Voting Laws were
17   “motivated by” a discriminatory purpose. See Vill. of Arlington Heights v. Metro. Hous.
18   Dev. Corp., 429 U.S. 252, 265–66, 269 (1977); (AAANHPI Opp’n at 13–15). “The
19   central inquiry in any disparate treatment claim under the Equal Protection Clause is
20   whether an invidious discriminatory purpose was a motivating factor in some government
21   action.” Ballou v. McElvain, 29 F.4th 413, 424 (9th Cir. 2022) (cleaned up). “‘[A]ny
22   indication of discriminatory motive may suffice’ to allow a disparate treatment claim to
23   survive summary judgment.” Id. (emphasis and alteration in original) (quoting Arce v.
24   Douglas, 793 F.3d 968, 978 (9th Cir. 2015)).
25          The Supreme Court articulated the following, non-exhaustive factors that a
            court should consider in assessing whether a defendant acted with
26          discriminatory purpose: (1) the impact of the official action and whether it
            bears more heavily on one race than another; (2) the historical background
27          of the decision; (3) the specific sequence of events leading to the
            challenged action; (4) the defendant’s departures from normal procedures
28          or substantive conclusions; and (5) the relevant legislative or administrative
            history.


                                                 - 25 -
     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 26 of 35



 1   Arce, 973 F.3d at 977.
 2          Plaintiffs point to the reduction in response time to provide DPOC between the
 3   previous version of H.B. 2243 (90 days) and H.B. 2243 as enacted (35 days) as evidence
 4   of the legislature’s intention to target naturalized citizens. (See AAANHPI Compl. ¶¶ 17–
 5   18, 60.) Plaintiffs also raise the comments made by H.B. 2942’s sponsor regarding
 6   immigrant voters, as well as the bill’s passage over advice of legislative counsel that the
 7   statute would be preempted by the NVRA, as evidence of discriminatory intent in
 8   legislation. (Poder Latinx Compl. ¶ 48 (detailing statements from bill sponsors that
 9   intention of the Voting Laws was to overrule LULAC Consent Decree and ensure
10   noncitizens are not voting in Arizona elections).) Plaintiffs have stated a claim that the
11   Voting Laws intentionally subject naturalized citizens to increased burdens, up to and
12   including complete disenfranchisement, violating the Equal Protection Clause.13
13          Second, Plaintiffs allege that the Voting Laws discriminate based on race,
14   violating both the Equal Protection Clause and the Fifteenth Amendment.14 (See
15   AAANHPI Compl. ¶¶ 143–50; Poder Latinx Compl. ¶¶ 107–18.) The Fifteenth
16   Amendment establishes that “[t]he right of citizens of the United States to vote shall not
17   be denied or abridged by the United States or by any State on account of race, color, or
18   previous condition of servitude.” U.S. Const. amend XV. A plaintiff must allege “actual
19   interference in the voting or registration processes” on account of race to state a claim for
20   Fifteenth Amendment violation. See Skorepa v. City of Chula Vista, 723 F. Supp. 1384,
21   1393 (S.D. Cal. 1989) (citation omitted).
22   13
        Amicus curiae Immigration Reform Law Institute raises that “[d]etermining whether
     invidious discriminatory purpose was a motivating factor demands a sensitive inquiry
23   into such circumstantial and direct evidence as may be available.” (Doc. 131-1, IRLI
     Amicus Br. at 15 (quoting Arlington Heights, 429 U.S. at 266).) The fact-sensitive nature
24   of invidious discrimination claims further weighs against granting the Motion.
     14
        Poder Latinx Plaintiffs correctly note that the Motion does not address their claim that
25   the Voting Laws violate the Fifteenth Amendment under Louisiana v. United States, 380
     U.S. 145 (1965). (Poder Latinx Opp’n at 10.) Defendants argue in Reply that the
26   unconstitutional action in Louisiana is distinguishable from the Voting Laws, in that
     Louisiana struck down a voting requirement administered “without any controls on
27   official discretion, placing arbitrary power in the hands of election officials.” (Reply at 17
     n.9.) But Plaintiffs have plausibly alleged that, inter alia, H.B. 2243’s “reason to believe”
28   investigation criterion similarly gives election officials “arbitrary power” to purge
     registered voters. See Louisiana, 380 U.S. at 153; (Poder Latinx Compl. ¶ 111.)

                                                 - 26 -
     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 27 of 35



 1          Plaintiffs’ claims survive the Motion. LUCHA Plaintiffs describe Arizona’s
 2   extended history of denying the franchise to Native Americans and plausibly connect this
 3   history to H.B. 2492’s DPOR requirement. (See LUCHA Compl. ¶¶ 164–69, 176–77.)
 4   AAANHPI asserts that by imposing the DPOR, DPOC, and Birthplace Requirements,
 5   “and removing voters from the rolls if such information is not provided or is questioned,
 6   Sections 1, 3, 4, 5, 7, and 8 of H.B. 2492 intentionally discriminate against AANHPIs,
 7   naturalized citizens from those communities, and other voters of color, in violation of the
 8   Fourteenth and Fifteenth Amendments.” (AAANHPI Compl. ¶ 148.) AAANHPI makes
 9   similar allegations regarding H.B. 2243. (Id. ¶ 150.) Poder Latinx asserts that H.B. 2243
10   is “in essence, a redeployment of [Jim Crow-era] unconstitutional registration practices
11   involving the unfettered discretion of officials to revoke voting rights and arbitrarily
12   allocate the right to vote, with particular harm falling on naturalized voters and, in
13   particular, Latinx voters throughout Arizona.” (Poder Latinx Compl. ¶ 116.) The Court
14   finds that Plaintiffs have stated a claim that the Voting Laws are racially discriminatory
15   in violation of the Fourteenth and Fifteenth Amendments.
16                        b.     Procedural Due Process
17          Multiple Private Plaintiffs claim that the Voting Laws deny procedural due
18   process. (See, e.g., AAANHPI Compl. ¶¶ 135–41; Poder Latinx Compl. ¶¶ 133–44;
19   Poder Latinx Opp’n at 7–9.) Defendants counter that any “freestanding” procedural due
20   process claims are “squarely foreclosed by Ninth Circuit precedent.” (Mot. at 16–17
21   (citing Hobbs III, 18 F.4th at 1195).) Defendants are correct. See Hobbs III, 18 F.4th at
22   1195 (holding that the Anderson-Burdick framework is “better suited to the context of
23   election laws than is the more general Eldridge test”); Ariz. Democratic Party v. Hobbs,
24   976 F.3d 1081, 1086 n.1 (9th Cir. 2020) (observing that district court likely erred in
25   accepting “plaintiffs’ novel procedural due process argument” when Anderson-Burdick
26   should supersede any other framework). To the extent Plaintiffs assert procedural due
27   process claims distinct from their Anderson-Burdick claims, the Court grants the Motion
28   as to these “freestanding” claims. However, certain Plaintiffs’ procedural due process


                                               - 27 -
     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 28 of 35



 1   claims survive the Motion, as they are included in allegations that the Voting Laws
 2   impose an undue burden under Anderson-Burdick. (See, e.g., MFV Compl. ¶¶ 3, 62–69,
 3   79 (alleging that H.B. 2492 severely burdens the right to vote by, inter alia, threatening
 4   voters with registration cancellation and criminal investigation without adequate notice
 5   and time to respond); AAANHPI Compl. ¶ 136; AAANHPI Opp’n at 10 (explaining that
 6   its procedural due process claim is alleged within the Anderson-Burdick framework).)
 7                3.     National Voter Registration Act
 8         Plaintiffs allege that the Voting Laws violate multiple sections of the NVRA. The
 9   NVRA sets parameters for the federal election process and bars states “from requiring a
10   Federal Form applicant to submit information beyond that required by the form itself.”
11   Inter-Tribal Council, 570 U.S. at 20 (striking down under the NVRA Arizona’s
12   requirement that Federal Form applicants submit DPOC).
13         As a general argument for dismissal of all Plaintiffs’ NVRA claims, Defendants
14   assert that because the Voting Laws only regulate presidential elections rather than all
15   federal elections, the NVRA does not apply. (See Mot. at 3, 23.) Citing Article I Section
16   4 of the United States Constitution, Defendants argue that the NVRA “can [only] apply
17   constitutionally to ‘Elections for Senators and Representatives.’” (Id. at 23.) But
18   Plaintiffs point out that there is no “carve-out” in H.B. 2243 for Federal Form users—on
19   its face, H.B. 2243 allows election officials to purge individuals lawfully registered to
20   vote using the Federal Form. (See AAANHPI Opp’n at 6.) And further, contrary to
21   Defendants’ suggestions, Plaintiffs have at least plausibly alleged that the NVRA applies
22   to presidential elections.15 C.f. Mattioda v. Bridenstine, No. 20-cv-03662-SVK, 2021 WL
23   75665, at *18 (N.D. Cal. Jan. 8, 2021) (assuming without deciding that a claim exists,
24   where case is on motion to dismiss and Ninth Circuit has not spoken to the issue); see
25   also Voting Rights Coal. v. Wilson, 60 F.3d 1411, 1414 (9th Cir. 1995) (“The broad
26   power given to Congress over congressional elections has been extended to presidential
27
     15
       The United States details the history surrounding the Elections Clause to explain why
28   Presidential elections may have been omitted but why the NVRA still applies to
     presidential elections. (USA Opp’n at 8.)

                                               - 28 -
     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 29 of 35



 1   elections”); (USA Opp’n at 5 (“An unbroken line of precedent confirms Congress’s
 2   power to regulate all federal elections, including those for president.”); AAANHPI Opp’n
 3   at 6 (citing Oregon v. Mitchell, 400 U.S. 112, 124 & n.6 (1970) (“It cannot be seriously
 4   contended that Congress has less power over the conduct of presidential elections than it
 5   has over congressional elections.”)), n.6 (detailing codified finding accompanying the
 6   NVRA regarding “discriminatory and unfair registration [harming] racial minorities.”).)
 7                        a.      Section 5
 8          Section 5 of the NVRA mandates that voter registration applications included with
 9   driver’s license applications “may only require the minimum amount of information
10   necessary to enable State election officials to assess eligibility of the applicant . . . .” 52
11   U.S.C. § 20504(c)(2)(B). This “minimum” means an “an attestation that the applicant
12   meets each such requirement [of citizenship],” with “signature of the applicant, under
13   penalty of perjury.” Id. § 20504(c)(2)(C)(i)–(iii). The DNC alleges that by requiring
14   Federal Form users to submit DPOC in order to vote in presidential elections, H.B. 2492
15   violates Section 5 of the NVRA. (See DNC Compl. ¶¶ 80–83.) The DNC argues that
16   Defendants failed to address this specific claim in the Motion. (DNC Opp’n at 8.) The
17   Court finds no indication otherwise. (See Mot.) Plaintiffs have stated a claim that the
18   Voting Laws are preempted by Section 5 of the NVRA.
19                        b.      Section 6
20          Plaintiffs allege that H.B. 2492’s DPOC requirement violates the mandate of
21   Section 6 of the NVRA that states “accept and use” the Federal Form to register
22   individuals for all federal elections. See 52 U.S.C. § 20505(a); (e.g., DNC Compl. ¶¶ 70–
23   72; DNC Opp’n at 5.)
24          Plaintiffs have plausibly alleged that the Voting Laws are preempted by Section 6.
25   (See AAANHPI Compl. ¶¶ 160, 168.) Plaintiffs argue that under Inter Tribal Council,
26   “[f]ederal-only voters must be permitted to vote in all federal elections, including
27   presidential elections, so long as those voters submit a complete and valid Federal Form.”
28   (USA Opp’n at 6) (emphasis in original). Like the law found preempted in Inter Tribal


                                                 - 29 -
     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 30 of 35



 1   Council, Plaintiffs allege that the Voting Laws require Federal Form users to provide
 2   “every additional piece of information the State requires on its state-specific form. If that
 3   is so, the Federal Form ceases to perform any meaningful function, and would be a feeble
 4   means of ‘increas[ing] the number of eligible citizens who register to vote in elections for
 5   Federal office.’” Inter Tribal Council, 570 U.S. at 13 (alteration in original) (citing
 6   § 1973gg(b)). Plaintiffs have stated a claim that the Voting Laws are preempted by
 7   Section 6 of the NVRA.
 8                        c.     Section 8
 9          Section 8 of the NVRA, in relevant part, requires that any state program to
10   “protect the integrity of the electoral process” by maintaining an accurate registration roll
11   for federal elections “be uniform, nondiscriminatory, and in compliance with the Voting
12   Rights Act of 1965” (“Uniformity Provision”). 52 U.S.C. § 20507(b)(1). It also mandates
13   that States “complete, not later than 90 days prior to the date of a primary or general
14   election for Federal office, any program the purpose of which is to systematically remove
15   the names of ineligible voters from the official lists of eligible voters” (“Purge
16   Provision”). Id. § 20507(c)(2)(A).
17          The DNC alleges that H.B. 2492 violates the Uniformity Provision by excluding
18   Federal Form users who did not provide DPOC from voting by mail or in Presidential
19   elections. (See DNC Compl. ¶¶ 73–78.) LUCHA Plaintiffs make the same allegation
20   regarding H.B. 2492’s DPOR requirement. (LUCHA Compl. ¶¶ 356, 358; see also DNC
21   Opp’n at 9.) Taking the allegations in the Complaints as true, the Court finds that
22   Plaintiffs have stated a claim that the Voting Laws violate the Uniformity Provision. (See
23   DNC Opp’n at 9–10.) And though Defendants counter that the Voting Laws have no
24   mandate that registrants shall continue to be purged from the rolls through the 90-period
25   preceding an election, the Voting Laws do not qualify when election officials can and
26   cannot purge registrants from the rolls. (See H.B. 2492 § 8; H.B. 2243 § 2; AAANHPI
27   Compl. ¶¶ 171–72.) At this stage of litigation, the statutes’ broad directive to purge
28   registrants, without any limit as to when this purge should cease, suffices to state a claim


                                                - 30 -
     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 31 of 35



 1   for violation of the Purge Provision. (See DNC Opp’n at 10.)
 2                 4.     Section 10101
 3          The Materiality Provision of Section 10101 (“Materiality Provision”) forbids
 4   states from denying “the right of any individual to vote in any election because of an
 5   error or omission on any record or paper relating to any application, registration, or other
 6   act requisite to voting, if such error or omission is not material in determining whether
 7   such individual is qualified under State law to vote in such election.” 52 U.S.C.
 8   § 10101(a)(2)(B). The United States explains that “[t]he Materiality Provision
 9   specifically covers registration.” (USA Opp’n at 4 (citing §§ 10101(a)(3)(A), (e)).) In
10   Arizona, such qualifications are age of majority, citizenship, residency, ability to write
11   one’s name or make one’s mark, and lack of criminal convictions or adjudications
12   rendering the voter incapacitated. Ariz. Rev. Stat. § 16-101.
13          The United States argues that multiple provisions of H.B. 2492 mandate voter
14   purges due to immaterial omissions or errors by registrants. The Birthplace Requirement,
15   the United States asserts, is immaterial to a voter’s eligibility, as naturalized citizens are
16   born outside of the United States and still carry the citizenship necessary to vote in
17   Arizona. (USA Opp’n at 18–19.) Conversely, individuals born in the United States might
18   not be American citizens, whether through foreign diplomatic parentage or expatriation.
19   (Id. at 19.) Failure to comply with the Check Box Requirement would similarly
20   disqualify applicants who have previously provided DPOC and met every other
21   requirement for verification of citizenship. (Id. at 19; USA Compl. ¶ 59.)
22          Defendants counter that there is no private right of action under § 10101 and that,
23   in any event, the information solicited under the Voting Laws is “material to ascertaining
24   eligibility to vote and thus cannot run afoul of Section 10101.” (Mot. at 3, 25, 28.)
25   Specifically, Defendants assert that a cause of action under § 1983 “is not available if
26   Congress ‘did not intend that remedy’ for the statutory right in question.” (Id. at 25
27   (citing City of Rancho Palos Verdes v. Abrams, 544 U.S. 113, 120 (2005)).) Defendants
28   also argue that the Materiality Provision does not “dictate the substance of state law,” as


                                                 - 31 -
     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 32 of 35



 1   Congress’s concerns in the Provision “c[a]me not from discriminatory laws,” but “‘from
 2   the discriminatory application and administration of apparently nondiscriminatory laws.’”
 3   (See id. at 26 (citing H.R. Rep. No. 88914 (Nov. 20, 1963), 1964 U.S.C. § 2391, 2491).)
 4          As this stage of litigation, the Court disagrees with Defendants. Before the passage
 5   of the Voting Laws, the state of Arizona used other methods to verify a registrant’s
 6   citizenship, suggesting that the Voting Laws’ “confirmation” measures are not necessary.
 7   (See USA Opp’n at 19; USA Compl. ¶ 49.) And the United States points out that the
 8   Materiality Provision forbids “election officials from denying the right to vote based on
 9   errors and omissions not material to voter qualifications,” “target[ing] all state conduct
10   that denies the right to vote based on immaterial errors or omissions.” (USA Opp’n at 14)
11   (emphasis in original). No party disputes that citizenship itself is material to a voter’s
12   qualifications, but the United States persuasively argues that materiality may mean more
13   than relevance in this context. (Id. at 17, 17 n.6.) The United States has plausibly alleged
14   that H.B. 2492 requires duplicative information from registrants that is “unnecessary and
15   therefore not material to determining an individual’s qualifications to vote” under
16   Arizona law.16 See La Union del Pueblo Entero v. Abbott, 604 F. Supp. 3d 512, 542
17   (W.D. Tex. 2022). The United States has stated a claim that H.B. 2492 violates the
18   Materiality Provision.17 (See USA Opp’n at 11–20.)
19          The Court also finds that Private Plaintiffs have stated a claim that the Voting
20   Laws violate § 10101. Similar to the application of the NVRA to presidential elections,
21   the Court need not decide whether there is a private right of action under § 10101 on a
22   motion to dismiss. While the Ninth Circuit has not spoken to this issue, Plaintiffs have
23   cited persuasive authority from within this Circuit indicating that there is such a private
24
     16
        The Court agrees with the United States that the text of the Materiality Provision does
25   not indicate the Provision only concerns “ad hoc executive actions that exceed state law.”
     (USA Opp’n at 13–14; see Mot. at 26.) Nor do the cases Defendants cite for this
26   argument support their reading of the Materiality Provision.
     17
        Defendants also argue that because Arizona voters may cure any error in their
27   registrations before H.B. 2492 would mandate cancelling their registrations, H.B. 2492
     does not run afoul of § 10101. (Mot. at 27.) Defendants cite no authority for this
28   assertion. The Court agrees with Plaintiffs that the cure provision of H.B. 2492 does not
     warrant dismissing the § 10101 claim. (See USA Opp’n at 15–16.)

                                                - 32 -
     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 33 of 35



 1   right of action, rendering their claims at least plausible. (See AAANHPI Opp’n at 16 n.14
 2   (citing Davis v. Commonwealth Election Comm’n, No.: 1–14–CV–00002, 2014 WL
 3   2111065, at *10 (D. N. Mar. I. May 20, 2014)).) While the United States addresses
 4   Private Plaintiffs’ allegations regarding H.B. 2492, Poder Latinx additionally alleges that
 5   H.B. 2243 violates § 10101(a)(2)(A), which prohibits election officials from “apply[ing]
 6   any standard, practice, or procedure different from the standards, practices, or procedures
 7   applied under such law or laws to other individuals within the same county . . . who have
 8   been found by State officials to be qualified to vote[.]” (Poder Latinx Compl. ¶¶ 100–06.)
 9   Poder Latinx has plausibly alleged that County Recorders are “instructed” to apply a
10   different “standard, practice, or procedure” to verify the eligibility of voters suspected of
11   being noncitizens. (Id. ¶ 102.) Only suspected noncitizens, investigated under broad,
12   potentially discriminatory criteria, will be subjected to allegedly unreliable database
13   checks and risk erroneous cancellation of their registrations. (Id. ¶ 103.)
14                        5.     Voting Rights Act
15          Section 2 of the Voting Rights Act (“Section 2”) prohibits states from enacting
16   voting rules that “result[] in a denial or abridgement of the right of any citizen of the
17   United States to vote on account of race or color.” 52 U.S.C. § 10301(a). In evaluating an
18   alleged Section 2 violation, courts must consider “the totality of circumstances” in each
19   case and whether “the political processes leading to nomination or election in the State or
20   political subdivision are not equally open to participation by members” of a protected
21   class “in that its members have less opportunity than other members of the electorate to
22   participate in the political process and to elect representatives of their choice.” Id.
23   § 10301(b). “The essence of a § 2 claim . . . is that a certain electoral law, practice, or
24   structure interacts with social and historical conditions to cause an inequality in the
25   opportunities   of   minority   and    non-minority    voters   to   elect    their   preferred
26   representatives.” Brnovich v. DNC, 141 S. Ct. 2321, 2333 (2021) (cleaned up). “[T]he
27   judiciary provides the only meaningful review of legislation that may violate the Voting
28   Rights Act.” Feldman v. Arizona Sec. of State’s Office, 843 F.3d 366, 369 (9th Cir.


                                                 - 33 -
     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 34 of 35



 1   2016).
 2            When assessing a claim of discriminatory results under Section 2, courts consider
 3   the extent of any historical discrimination burdening the right to vote, the degree of
 4   racially polarized voting, and the severity with which discrimination restricts the class
 5   from voting. See Thornburg v. Gingles, 478 U.S. 30, 36–37 (1986). LUCHA Plaintiffs
 6   allege that the Voting Laws disparately burden Native American, Latino, and language-
 7   minority voters by placing “barriers to registration [causing] impacted individuals to be
 8   wholly barred from voting.” (LUCHA Compl. ¶¶ 367–69.) For example, as above
 9   detailed, LUCHA Plaintiffs assert that a disproportionate number of San Carlos Apache
10   Tribal members will be unable to provide DPOR not because obtaining adequate proof is
11   a “mere inconvenience,” but because many Tribal members do not live in a residence
12   with one address recognized by the State. (Id. ¶¶ 28–40); c.f. Brnovich, 141 S. Ct. at 2338
13   (“Mere inconvenience cannot be enough to demonstrate a violation of [Section] 2.”)
14   Arizona also has a history of disenfranchising Native American citizens. (Id. ¶¶ 164–69,
15   176–77.)     LUCHA      Plaintiffs   additionally    allege   that   naturalized   citizens,   a
16   disproportionate number of whom are members of protected racial classes, will be subject
17   to unwarranted disenfranchisement and criminal prosecution due to the Birthplace
18   Requirement and the State’s use of faulty databases to verify citizenship. (Id. ¶¶ 367–70.)
19            Defendants respond that LUCHA’s Section 2 claim does not plausibly detail any
20   “meaningful disparate racial impacts” and “depends enormously on speculative racial
21   disparities that may not occur as anticipated, or indeed may not occur at all.” (Mot. at 4,
22   29 (internal quotation marks and citation omitted).) But Defendants’ attacks on the
23   Section 2 claim depend on evaluating the merits of the claim, which the Court will not do
24   at this stage of litigation. And Plaintiffs need not plead any “specific set of factors” to
25   state a claim of Section 2 violation. Sixth Dist. Of African Methodist Episcopal Church v.
26   Kemp, 574 F. Supp. 3d 1260, 1277 (N.D. Ga. 2021) (citing Brnovich, 141 S. Ct. at 2336,
27   2340). Plaintiffs have met their burden to plausibly allege that Arizona’s voting process is
28   not “equally open to participation” from, inter alia, Native American voters who will not


                                                 - 34 -
     Case 2:22-cv-00509-SRB Document 304 Filed 02/16/23 Page 35 of 35



 1   be able to obtain DPOR. LUCHA Plaintiffs have stated a claim that the Voting Laws
 2   violate Section 2.
 3   III.   CONCLUSION
 4          The Court concludes that Plaintiffs have standing to bring this action. Further, the
 5   Court finds that Plaintiffs have stated plausible claims for relief, apart from any alleged
 6   “freestanding” procedural due process violation.
 7          IT IS ORDERED denying Defendants State of Arizona and the Arizona Attorney
 8   General’s Motion to Dismiss except as to Plaintiffs’ freestanding procedural due process
 9   claims (Doc. 127).
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11          Dated this 16th day of February, 2023.
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